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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 UNITED STATES OF AMERICA,               :                20cr377 (DLC)
                                         :
                -v-                      :                    ORDER
                                         :
 TODD MCCLAIN,                           :
                           Defendant.    :
                                         :
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DENISE COTE, District Judge:


     For the reasons set forth on the record on October 20 2020,

it is hereby

     ORDERED that C.J.A. counsel Harvey Fishbein is relieved as

counsel for the defendant and the appearance by retained counsel

Jeffrey Chabrowe is accepted.

     IT IS FURTHER ORDERED that the October 23, 2020 sentencing

date is rescheduled to November 13, 2020 at 2 p.m. in Courtroom

18B, 500 Pearl Street.

     IT IS FURTHER ORDERED that defendant’s supplemental

sentencing submission shall be due November 6.           Any supplemental

submission by the Government shall be due November 11.


Dated:      New York, New York
            October 20, 2020

                                    ____________________________
                                             DENISE COTE
                                    United States District Judge
